                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-27
 v.                                                    )
                                                       )       MATTICE / LEE
 RONALD HARDY                                          )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the sixteen-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Superseding

 Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Superseding

 Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

 find Defendant shall remain in custody until sentencing in this matter [Doc. 94]. Neither party filed

 a timely objection to the report and recommendation. After reviewing the record, the Court agrees

 with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation [Doc. 94] pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Superseding Indictment;




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       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, October 31, 2011 at 9:00 a.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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